           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 1 of 37



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8

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10                                 UNITED STATES DISTRICT COURT

11                                NORTHERN DISTRICT OF CALIFORNIA

12                                          SAN JOSE DIVISION

13

14   LIFELINE LEGACY HOLDINGS LLC, a                Case No. 5:21-cv-07751-BLF
     Delaware limited liability company,
15                                                  SECOND AMENDED COMPLAINT FOR
                     Plaintiff,                     VIOLATION OF FEDERAL SECURITIES
16                                                  LAWS, VIOLATION OF CALIFORNIA
             v.                                     CORPORATIONS CODE § 25401
17
     OZY MEDIA, a Delaware corporation; SAMIR
18   RAO, an individual; CARLOS WATSON, an
     individual,                                    DEMAND FOR JURY TRIAL
19
                     Defendants.
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                                                                  SECOND AMENDED COMPLAINT
     163056.00601/129061142V.1
           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 2 of 37




1            Plaintiff LifeLine Legacy Holdings LLC (“LifeLine” or “Plaintiff”) hereby alleges as

2    follows:

3                                          JURISDICTION AND VENUE

4            1.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. § 1331 as this action

5    concerns violations of Sections 10(b) and 20(a) of the Securities Exchange Act of 1934 (the

6    “Exchange Act”) and Rule 10b-5 of the Securities and Exchange Commission (“SEC”).

7            2.      Defendants have, directly or indirectly, made use of the means or instrumentalities of

8    interstate commerce or of the mails in connection with the transactions, acts, practices and courses of
9    business alleged in this complaint.
10           3.      Venue is proper in this district pursuant to the written agreements at issue, each of
11   which contain provisions requiring that the venue of any litigation between the parties shall be this
12   district and pursuant to Section 27(a) of the Exchange Act and 15 U.S.C. § 78aa(a) because certain
13   of the transactions, acts, practices and courses of conduct constituting violations of federal securities
14   laws occurred within this district.
15                                          SUMMARY OF CLAIMS

16           4.      In February and May of 2021, Defendant Ozy Media (“Ozy Media” or the

17   “Company”) solicited investments from LifeLine which culminated in the execution of two written

18   stock purchase agreements. Pursuant to these agreements, Ozy Media represented and warranted,

19   among other things, that: (a) at the time the agreements were executed the Company was unaware of

20   the pending resignation or termination of any key employee; (b) since December 31, 2018, there had

21   not been any failure to conduct business in the ordinary course; (c) since December 31, 2018, there

22   had been no condition or event of any character that might result in a material adverse effect on the

23   Company; and (d) since December 31, 2018, there had been any investigation into the Company by

24   any government agency.

25           5.      While soliciting LifeLine’s investments and at the time of execution of the stock

26   purchase agreements, Ozy Media failed to inform LifeLine that on February 2, 2021, the Company’s

27   Co-Founder, Director and Chief Operating Officer, Samir Rao (“Rao”), on a call with investment

28                                                      1
                                                                           SECOND AMENDED COMPLAINT
                                                                                CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 3 of 37




1    firm Goldman Sachs wherein the Company was seeking a $40 million investment from Goldman

2    Sachs, impersonated an executive of YouTube and misrepresented viewership of Ozy Media

3    programming shown on YouTube. As a result of that incident, Goldman Sachs refused to make a

4    contemplated $40 million investment in Ozy Media leading the Company’s executives to conclude

5    that if they disclosed the incident and its consequences to LifeLine, LifeLine would similarly refuse

6    to invest. To avoid the loss of yet another potential investor, the Company kept the incident hidden

7    from LifeLine thereby rendering the written representations set forth in the stock purchase

8    agreements false or misleading in violation of Section 10(b) of the Exchange Act (15 U.S.C. §
9    78j(b)) and Rule 10b-5 promulgated pursuant thereto.
10                                              THE PARTIES

11           6.      Plaintiff, LifeLine Legacy Holdings LLC, is a Delaware limited liability company

12   with its principal place of business located in Beverly Hills, California.

13           7.      Defendant, Ozy Media, is incorporated under the laws of the state of Delaware and its

14   offices and principal place of business are located in Mountain View, California.

15           8.      Defendant Rao is an individual residing in Palo Alto, California, and is a Co-Founder

16   of Ozy Media and, at relevant times referred to herein, served as Chief Operating Officer of Ozy

17   Media and was a member of its Board of Directors.

18           9.      Defendant Carlos Watson (“Watson”) is an individual residing in Mountain View,

19   California, and is a Co-Founder of Ozy Media and, at all relevant times referred to herein, served as

20   the Chief Executive Officer of Ozy Media and was a member of its Board of Directors.

21                                           THE ALLEGATIONS

22           Ozy Media’s Solicitations of Investments from LifeLine

23           10.     Ozy Media is a digital media company specializing in, among other things, news,

24   podcasts, festivals, and television/feature film productions.        The Company was founded in

25   September 2013 by Watson and Rao.

26           11.     In late 2020 and early 2021, Ozy Media sought to raise funds from, among others,

27   private investors. LifeLine was one of the investors targeted by Ozy Media and, more specifically,

28                                                       2
                                                                           SECOND AMENDED COMPLAINT
                                                                                CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 4 of 37




1    by its Co-Founder, Director and Chief Executive Officer, Watson, and its Co-Founder, Director and

2    Chief Operating Officer, Rao.

3            12.     Prior to 2020, a principal of LifeLine had previously worked with and had developed

4    a professional relationship with Watson. At no time during their years long prior professional

5    relationship had the principal of LifeLine, and signatory to the stock purchase agreements on behalf

6    of LifeLine, had any reason to suspect that Watson was anything but a truthful person.

7            13.     Starting in late 2020 and continuing through early February 2021, Watson and Rao

8    personally solicited investments in Ozy Media from LifeLine in what Watson and Rao described as a
9    forthcoming “Series D” round of funding for the Company that would be led by one or more well-
10   known institutional investors intending to invest tens of millions of dollars in the Company. During
11   correspondence with LifeLine regarding the potential investment, Watson and Rao informed
12   LifeLine that the “Series D” round of funding would be based on a $300 million pre-money
13   valuation of the Company and the price of each “Series D” share in the Company would be
14   approximately $7.00.
15           14.     On February 15, 2021, Watson informed LifeLine, for the first time, that Ozy Media
16   was not moving forward with the “Series D” round of funding. Watson told the principals of
17   LifeLine that LifeLine’s investment in the Company was “important” and that the Company valued
18   LifeLine as an investor. Based thereon, Watson informed LifeLine’s principals that the Company

19   would explorer other investment options with LifeLine.

20           15.     On or about February 17, 2021 – just days after Rao’s misconduct on February 2,

21   2021 and the resulting refusal by Goldman Sachs to make a substantial $40 million investment in

22   Ozy Media – Watson informed the principals of LifeLine that he had “great news” for LifeLine.

23   Specifically, Watson informed LifeLine that he had received authority from the Company’s Board of

24   Directors to “reopen” the “Series C” round of funding to specifically accommodate an immediate

25   multi-million investment from LifeLine. Watson and Rao informed LifeLine that the “Series C”

26   round of funding (which was based on a $125 million pre-money valuation of the Company and a

27   price of $5.19 per “Series C” share) had closed in September 2019, but that if LifeLine acted quickly

28                                                    3
                                                                        SECOND AMENDED COMPLAINT
                                                                             CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 5 of 37




1    it would be given the opporuntity to purchase “Series C” shares of the Company in February 2021 at

2    the share price given to investors in September 2019.

3            16.     At the time, LifeLine viewed this as an opporuntity to invest in Ozy Media based on a

4    lower valuation and believed it was afforded the opporuntity to do so based on its prior professional

5    relationship with Watson and because, as expressed to LifeLine by both Watson and Rao, the

6    Company desired to build relationships with LifeLine’s high-profile clientele in order to benefit the

7    Company’s operations going forward. At the time, LifeLine had no reason to suspect that it was

8    afforded the opporuntity to invest in the Company through the “reopened” “Series C” round of
9    funding because the Company needed investors to replace the $40 million investment from Goldman
10   Sachs that it had just lost days earlier, or because the Company was concerned that investors, like
11   LifeLine, would refuse to invest if Rao’s misconduct was disclosed.
12           17.     From late 2020 through mid-February 2021, both Watson and Rao, as officers and
13   directors of Ozy Media, personally solicited an investment from LifeLine and encouraged it to invest
14   in the Company, including without limitation by way of electronic correspondence and telephone
15   calls on February 10, 14, 15, 16, 17 and 18, 2021. During the solicitation of LifeLine’s investment,
16   both Watson and Rao represented to LifeLine through their words and actions that, as officers and
17   directors of Ozy Media, their duties with the Company included solicitation of investments in the
18   Company and that they were authorized to solicit investments on behalf of the Company, including

19   the investment from LifeLine.

20           18.     As discussed more fully below, in late February 2021, LifeLine agreed to make its

21   first investment in Ozy Media in the amount of $2,000,000. In May 2021, LifeLine made a second

22   investment in Ozy Media in the amount of $250,000.

23           The Preceding Impersonation Incident

24           19.     In early 2021, the well-known investment firm Goldman Sachs was considering

25   making a $40 million investment in Ozy Media; an investment that would not only have had a

26   material impact on the Company’s financial condition but would indeed have been transformative

27   for the Company. In connection with the potential Goldman Sachs investment, a call was held on

28                                                     4
                                                                         SECOND AMENDED COMPLAINT
                                                                              CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 6 of 37




1    February 2, 2021, during which call the Company, through Rao, engaged in fraudulent, deceptive

2    and illegal conduct when Rao, impersonated an executive of YouTube and misrepresented

3    viewership of Ozy Media programming shown on YouTube (the “Impersonation Incident”).

4             20.    When the Impersonation Incident was later uncovered not only did Goldman Sachs

5    refuse to invest in the Company but the Company also became subject to various law enforcement

6    investigations, including by Securities and Exchange Commission (“SEC”) and Department of

7    Justice (“DOJ”).

8             21.    Additionally, as a result of the incident, Rao – a co-founder, key officer and director
9    of the Company – was asked to resign from the Company.
10            Lifeline’s Investments and the Stock Purchase Agreements
11            22.    As noted above, Ozy Media solicited and encouraged investments from LifeLine by
12   way of electronic correspondence and telephone calls starting in late 2020 and continuing on
13   February 10, 14, 15, 16, 17 and 18, 2021.
14            23.    LifeLine agreed to invest in Ozy Media by way of the “reopened” Series C round of
15   funding. On February 24, 2021, LifeLine and Ozy Media entered into a Series C Preferred Stock
16   Purchase Agreement dated as of September 13, 2019 (the “Series C SPA”), pursuant to which
17   LifeLine agreed to and did invest $2 million in the Company at a price of $5.19 per share. The
18   Series C SPA was sent to LifeLine by Rao via email. A copy of the Series C SPA is attached hereto

19   as Exhibit 1. The Series C SPA was signed by Watson on behalf of Ozy Media as its “CEO”.

20            24.    The Series C SPA contained the following material representations made by Ozy

21   Media:

22                   a. Section 3.6(h): “[S]ince the Balance Sheet Date [the fiscal year ended December

23                       31, 2018 and the six-month period ended June 30, 2019], there has not been: …

24                       (h) any resignation or termination of employment of any officer or key employee

25                       of the Company; and the Company, to its knowledge, does not know of the

26                       impending resignation or termination of employment of any such officer or key

27                       employee;”

28                                                      5
                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 7 of 37




1                    b. Section 3.6(m): “[S]ince the Balance Sheet Date [the fiscal year ended December

2                        31, 2018 and the six-month period ended June 30, 2019], there has not been: …

3                        (m) any failure to conduct business in the ordinary course, consistent with the

4                        Company’s past practices;”

5                    c. Section 3.6(n): “[S]ince the Balance Sheet Date [the fiscal year ended December

6                        31, 2018 and the six-month period ended June 30, 2019], there has not been: …

7                        (n) to the Company’s knowledge, any other event or condition of any character

8                        that might result in a Material Adverse Effect; … .”
9                    d. Section 3.12: “There are no actions, suits, proceedings or investigations pending

10                       against the Company … that, either individually or in the aggregate, if determined

11                       adversely to the Company, would or could reasonably be expected to have a

12                       Material Adverse Effect … .”

13           25.     Section 3.1 of the Series C SPA defines “Material Adverse Effect” as, “[t]he

14   Company is presently qualified to do business as a foreign corporation in each jurisdiction where the

15   failure to be so qualified could reasonably be expected to have a material adverse effect on the

16   Company’s financial condition or business as now conducted”. Thus, any incident, condition or

17   circumstances that could result in the Company losing its qualification to conduct business in any

18   jurisdiction and a resulting financial impact would be an incident having a material adverse effect on

19   the Company.

20           26.     LifeLine reviewed the Series C SPA prior to signing it and relied on the truthfulness

21   of the representations set forth in the Series C SPA, including those representations at Sections

22   3.6(h), (m) and (n) and 3.12, in making its decision to invest in Ozy Media. In making investments,

23   it is important to LifeLine and its clientele that the companies in which LifeLine invests are truthful

24   in their representations to investors, not engaged in any business out of the ordinary course or

25   inconsistent with past practices, and not being investigated by any regulatory agencies because such

26   conduct is likely to have a negative impact on the reputation of the company in which LifeLine is

27   making an investment and, as such, a negative impact and reputational damage to LifeLine and its

28                                                      6
                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 8 of 37




1    clientele.    LifeLine would not have executed the Series C SPA if it had known that the

2    representations made by the Company in Sections 3.6(h), (m) and (n) and Section 3.12 were false or

3    misleading.

4            27.     Starting on or about April 6, 2021, and continuing through May 2021, Ozy Media

5    through Watson and Rao solicited further investments from LifeLine and its clients.

6            28.     On May 9, 2021, Ozy Media, through Rao represented in writing to LifeLine that

7    Alphabet or one of its Google affiliates was leading the Series D financing by investing

8    approximately $30 million into the Company. These representations were repeated and affirmed to
9    LifeLine’s principals by Watson during several telephone conversations between May 9 and 13,
10   2021.
11           29.     On or about May 13, 2021, LifeLine entered into a Series D Preferred Stock Purchase
12   Agreement (the “Series D SPA”), which was sent to LifeLine by Rao, via email, pursuant to which
13   LifeLine agreed to and did purchase $250,000.00 of Series D Preferred Shares in Ozy Media at a
14   price of $7.79 per share. A true and correct copy of the Series D SPA is attached hereto as Exhibit
15   2. The Series D SPA was signed by Watson on behalf of Ozy Media as its “CEO”.
16           30.     The Series D SPA included the following material representations by Ozy Media:
17                   a. Section 3.6(h): “[S]ince the Balance Sheet Date [the fiscal year ended December

18                       31, 2020 and the three-month period ended March 31, 2021], there has not been:

19                       … (h) any resignation or termination of employment of any officer or key

20                       employee of the Company; and the Company, to its knowledge, does not know of

21                       the impending resignation or termination of employment of any such officer or

22                       key employee;”

23                   b. Section 3.6(m): “[S]ince the Balance Sheet Date [the fiscal year ended December

24                       31, 2020 and the three-month period ended March 31, 2021], there has not been:

25                       … (m) any failure to conduct business in the ordinary course, consistent with the

26                       Company’s past practices;”

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28                                                     7
                                                                         SECOND AMENDED COMPLAINT
                                                                              CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
           Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 9 of 37




1                    c. Section 3.6(n): “[S]ince the Balance Sheet Date [the fiscal year ended December

2                        31, 2020 and the three-month period ended March 31, 2021], there has not been:

3                        … (n) to the Company’s knowledge, any other event or condition of any character

4                        that might result in a Material Adverse Effect; … .”

5                    d. Section 3.12: “There are no actions, suits, proceedings or investigations pending

6                        against the Company … that, either individually or in the aggregate, if determined

7                        adversely to the Company, would or could reasonably be expected to have a

8                        Material Adverse Effect … .”
9            31.     The representations made in Sections 3.6(h), 3.6(m), 3.6(n) and 3.12 of the Series C

10   SPA and the Series D SPA are collectively referred to hereinbelow as the “Representations”. The

11   Series C SPA and the Series D SPA are sometimes collectively referred to hereinbelow as the

12   “SPAs”.

13           32.     Section 3.1 of the Series D SPA defines “Material Adverse Effect” as, “[t]he

14   Company is presently qualified to do business as a foreign corporation in each jurisdiction where the

15   failure to be so qualified could reasonably be expected to have a material adverse effect on the

16   Company’s financial condition or business as now conducted”. Thus, any incident, condition or

17   circumstances that could result in the Company losing its qualification to conduct business in any

18   jurisdiction and a resulting financial impact would be an incident having a material adverse effect on

19   the Company.

20           33.     LifeLine reviewed the Series D SPA prior to signing it and relied on the truthfulness

21   of the representations set forth in the Series D SPA, including those Representations at Sections

22   3.6(h), (m) and (n) and 3.12 in making its decision to invest in Ozy Media. In making investments,

23   it is important to LifeLine and its clientele that the companies in which LifeLine invests are truthful

24   in their representations to investors, not engaged in any business out of the ordinary course or

25   inconsistent with past practices, and not being investigated by any regulatory agencies because such

26   conduct is likely to have a negative impact on the reputation of the company in which LifeLine is

27   making an investment and, as such, a negative impact and reputational damage to LifeLine and its

28                                                      8
                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 10 of 37




1    clientele. LifeLine would not have executed the Series D SPA if it had known that the

2    Representations made by Ozy Media in Sections 3.6(h), (m) and (n) and Section 3.12 were false or

3    misleading.

4            34.     Based on the written representations regarding Ozy Media as set forth in the Series C

5    SPA and the Series D SPA, LifeLine’s prior professional relationship with Watson, and

6    representations by Watson and Rao that institutional investors other than Goldman Sachs were

7    positioning to make substantial investments in the Company, LifeLine had no reason to suspect that

8    the Representations made by Ozy Media in the SPAs were false or misleading.
9            Defendants’ Failures to Disclose the Impersonation Incident and its Consequences
10           Rendered the Company’s Representations in the SPAs False or Misleading
11           35.     At all times while Defendants solicited investments from Lifeline and while the
12   Series C SPA and Series D SPA were being negotiated and executed, Defendants, and each of them,
13   failed to disclose to LifeLine: (1) that the Impersonation Incident had occurred; (2) that, as a result,
14   Rao, a co-founder, key executive and director of the Company had been asked to resign; (3) that
15   investigations into the Company had been commenced by the SEC and DOJ; and, (4) that Goldman
16   Sachs had refused to invest in the Company because of the Impersonation Incident.
17           36.     The foregoing circumstances, whether taken individually or collectively, were clearly
18   contrary to the Representations.

19           37.     By way of Section 3.6(h) of the SPAs, Ozy Media represented to LifeLine that, since

20   December 31, 2018, there had not been any resignation or termination of any officer or key

21   employee of the Company, nor was there any such resignation or termination pending. By failing to

22   disclose that Rao’s forced resignation was pending or had already occurred, the Company rendered

23   the representation made in Section 3(h) of the SPAs not only misleading, but actually false.

24           38.     In Section 3.6(m) of the SPAs, Ozy Media assured LifeLine that between December

25   31, 2018 and March 31, 2021 there had been no failure by the Company to conduct business in the

26   ordinary course, consistent with the Company’s past practices. Clearly, the Chief Operating Officer

27   and a director of the Company impersonating an executive of another company in order to solicit a

28                                                      9
                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 11 of 37




1    $40 million investment from Goldman Sachs cannot be considered ordinary course of business for

2    any company. Moreover, as discussed more fully below, following the public revelation of the

3    Impersonation Incident, Watson publicly stated that such actions were not reflective of how the

4    Company conducted business.

5            39.     Section 3.6(n) of the SPAs contained a representation made by Ozy Media to Lifeline

6    that, during the period of December 31, 2018 through March 31, 2021, there had been no event of

7    condition of any character that “might” result in a “Material Adverse Effect” to the Company.

8    Given the blatant illegality of the Impersonation Incident, there can be no doubt that the
9    Impersonation Incident was an event that could possibly constitute a “Material Adverse Effect” on
10   the Company, especially since the Impersonation Incident led directly to investigations into the
11   Company by the SEC and DOJ and, as set forth below, an initial decision by the Company to cease
12   operations.
13           40.     Section 3.12 of the SPAs contains the following express representation: “There are no
14   actions, suits, proceedings or investigations pending against the Company … that, either individually
15   or in the aggregate, if determined adversely to the Company, would or could reasonably be expected
16   to have a Material Adverse Effect … .” LifeLine is informed and believes and, based thereon,
17   alleges that as a result of the Impersonation Incident, investigations of Ozy Media were commenced,
18   and are presently ongoing, by the SEC and DOJ and that Defendants, and each of them, were aware

19   of said investigations at the times LifeLine agreed to invest in the Company.           Surely, law

20   enforcement investigations into fraudulent conduct in connection with the solicitation of investments

21   could and likely would have direct adverse impact on the Company’s qualification to conduct

22   business and, therefore, on the financial condition of the Company.

23           41.     Both Watson and Rao engaged in numerous communications with LifeLine regarding

24   its potential investment in Ozy Media (e.g., February 10, 14, 15, 16, 17 and 18, April 6, May 9 and

25   13, 2021) after Rao’s fraudulent conduct had occurred and before LifeLine executed the Series C

26   SPA (February 24, 2021) or the Series D SPA (May 13, 2021).

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28                                                    10
                                                                           SECOND AMENDED COMPLAINT
                                                                                CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 12 of 37




1            42.     At no time before or during the time that Ozy Media solicited investments from

2    LifeLine and entered into the SPAs with LifeLine did the Defendants, or any of them, disclose to

3    LifeLine the Impersonation Incident. Not only did Defendants fail to disclose the fact of Rao’s

4    misconduct to LifeLine before it invested in Ozy Media, they each failed to disclose any of the

5    consequences resulting from that misconduct, including that the Company lost the $40 million

6    investment that Rao and Watson had spent months soliciting, that the Company asked Rao to resign

7    as a result of his misconduct, and that the SEC and DOJ had opened investigations into Ozy Media

8    and its business operations. The undisclosed Impersonation Incident and each of these undisclosed
9    consequences were directly contrary to representations made by Ozy Media in the SPAs executed by
10   LifeLine and Ozy Media memorializing the terms of LifeLine’s investments.
11           43.     By omitting material information rendering written representations made to LifeLine
12   by Ozy Media in connection with LifeLine’s investments false or misleading, Defendants violated
13   Section 10(b) of the Exchange Act, SEC Rule 10b-5, and California Corporations Code § 25401.
14           44.     Had LifeLine known the foregoing facts it would never have invested in Ozy Media
15   and LifeLine is now, therefore, entitled to rescission of its investments and damages.
16           Defendants’ Scienter
17           45.     The nature and sequence of the relevant events emanating from the Impersonation
18   Incident establish that the decision by Watson and Rao not to disclose the Impersonation Incident

19   and the resulting consequences prior to LifeLine’s investments in the Company was at worst

20   intentional and at best reckless.

21                   Temporal Factors

22           46.     Both Watson and Rao engaged in a series of communications with LifeLine regarding

23   its potential investment in Ozy Media starting in late 2020 and through early February 2021. Those

24   communications focused, exclusively, on a forthcoming “Series D” round of funding for the

25   Company. On or about February 15, 2021 – just days after the Impersonation Incident had occurred

26   and before LifeLine executed the Series C SPA and made its first investment of $2 million in the

27   Company (February 24, 2021) – Watson and Rao introduced a new investment structure to LifeLine

28                                                     11
                                                                         SECOND AMENDED COMPLAINT
                                                                              CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 13 of 37




1    by way of “reopening” the “Series C” round of funding to accommodate an immediate and

2    “important” multi-million dollar investment by LifeLine.

3            47.     Defendants were all aware of the Impersonation Incident the day that it occurred and

4    before LifeLine made its first investment in Ozy Media by way of the Series C SPA. There is no

5    doubt, therefore, that such an adversely impactful occurrence (which Watson described as “horrific”)

6    would have been top of mind for Defendants at the very time they were soliciting investments from

7    LifeLine and executing the SPAs containing the Representations that were rendered false or

8    misleading before the ink was dry on the agreements.          The very proximity in time of the
9    Impersonation Incident to the Company suddenly “reopening” the Series C funding for LifeLine 17
10   months after it had closed to accommodate an immediate and “important” investment by LifeLine,
11   along with LifeLine’s execution of the Series C SPA is prima facie evidence that Ozy Media,
12   Watson and Rao intentionally hid the Impersonation Incident from LifeLine so as to secure
13   LifeLine’s multi-million dollar investment and avoid the loss of another “important” investment in
14   the Company.
15           48.     Given that the Impersonation Incident was known to Defendants in advance of when
16   the SPAs were signed, and given that the incident was so “horrific” and blatantly contrary to the
17   Representations, the only reasonable conclusion is that, when making the Representations,
18   Defendants, and each of them, intentionally failed to disclose the Impersonation Incident and the

19   resulting consequences to LifeLine.

20           49.     In addition to Defendants’ failing to disclose the Impersonation Incident, they also

21   failed to disclose that a prominent institutional investor, Goldman Sachs, had declined to invest $40

22   million in Ozy Media specifically because of the Impersonation incident. While Goldman Sachs’

23   failure to invest, in and itself, would not normally be something the Company was required to

24   disclose, the fact that the refusal to invest was based on misconduct out of the ordinary of the

25   Company’s business, is information that renders the Representations false or, at a minimum,

26   misleading.

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28                                                    12
                                                                        SECOND AMENDED COMPLAINT
                                                                             CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 14 of 37




1            50.     The fact that Ozy Media solicited investments from LifeLine contemporaneous with

2    the Impersonation Incident (and secured LifeLine’s investment within days of the Impersonation

3    Incident) and Goldman Sachs’ resulting refusal to invest reflects Defendants’ scienter. It is no

4    coincidence that the Company went out of its way to “reopen” the Series C round of funding to

5    accommodate an immediate and “important” investment from LifeLine just days after the

6    Impersonation Incident. As a purely factual matter, it is reasonable to conclude that the Company

7    did so because it had lost a substantial investment and needed new, additional investors to help

8    replace the lost Goldman Sachs investment. This was particularly important since, when soliciting
9    investments from LifeLine, Defendants repeatedly touted the interest of other well-known investors
10   in the Company. Thus, Defendants and each of them hid the Impersonation Incident and resulting
11   consequences from LifeLine so as not to interfere with this goal.
12                   Defendant Watson’s Post-Impersonation Incident Statements and Admissions
13           51.     On October 5, 2021, Watson admitted during an interview on “The Breakfast Club”
14   (a national radio broadcast program) that he was aware of Rao’s fraudulent and illegal conduct “the
15   same day” it occurred (i.e., February 2, 2021) and, specifically, that he received a call from the
16   potential investor a “couple of hours” after Rao’s fraudulent conduct during the telephone call on
17   February 2, 2021. (See https://www.youtube.com/watch?v=A0K4DRLlTK8 at 4:50-5:35.) Watson
18   described Rao’s conduct as “horrific”, acknowledged that it “wasn’t good and it wasn’t okay”, and

19   confirmed that it caused the Ozy Media to lose a substantial $40 million investment from “what

20   could have been a really terrific investor”. (Id. at 16:49-16:59.)

21           52.     Obviously, at the time LifeLine’s investment was solicited and the Series C SPA was

22   executed Watson was well aware of the “horrific” conduct of Rao and that the consequences were

23   anything but business as usual and that something out of the ordinary directly affecting the

24   Company’s ability to remain operational in any jurisdiction and, therefore the health of its financial

25   condition, had just occurred. When asked whether Rao’s misconduct was the reason for Goldman

26   Sachs’ refusal to make a substantial ($40 million) investment in the Company, Watson confirmed

27   that was “a hundred percent” the reason. (See https://www.youtube.com/watch?v=A0K4DRLlTK8

28                                                      13
                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 15 of 37




1    at 6:04-6:54 and 17:00-17:20.) There is only one plausible reason for Watson and Rao not to have

2    disclosed the Impersonation Incident and resulting consequences to LifeLine when it solicited

3    investments from LifeLine starting just days after the incident – because both knew that making such

4    a disclosure would have also led LifeLine, as another potential investor, to decline to invest. At a

5    minimum, the failure to disclose the Impersonation Incident while seeking millions of dollars from

6    an investor for the benefit of whom the Representations were being made was extraordinarily

7    reckless and much more likely purely intentional. Defendants’ failures to disclose, in an effort to

8    protect Ozy Media, extended beyond LifeLine. LifeLine is informed and believes and, based
9    thereon, alleges that Defendants were concerned that disclosure of Rao’s misconduct would result in
10   substantial negative publicity and potentially fatal reputational damage to the Company and have an
11   undesired chilling effect on potential investors, beyond just LifeLine, at a time when it was seeking
12   substantial investments from institutional investors, LifeLine, and others.
13             53.     Watson further disclosed during that radio interview on October 5, 2021, that the day
14   of the Impersonation Incident or the next day he was on the “phone, obviously, with investors, and
15   others,         our    board     members”       to        disclose   Rao’s     fraudulent     conduct.
16   (https://www.youtube.com/watch?v=A0K4DRLlTK8 at 4:50-5:35.) The “investors” and “others” to
17   whom Watson apparently disclosed Rao’s fraudulent conduct did not include LifeLine despite

18   Watson and Rao actively soliciting LifeLine’s investment in the Company at essentially the very

19   same time that the fraudulent conduct occurred and despite LifeLine signing the Series C SPA just

20   three weeks after Rao’s fraudulent conduct and Watson’s knowledge of that misconduct. Watson

21   disclosed the incident to investors whose money Ozy Media already had; but, not coincidentally he

22   failed to disclose it to LifeLine which was actively evaluating at the time whether to invest millions

23   of dollars in the Company.       Again, the reason is obvious. Doing so would have led LifeLine to

24   decline to invest in the Company just like Goldman Sachs.

25             54.     During the same interview, Watson disclosed that Ozy Media had asked Rao, its Co-

26   Founder, Chief Operating Officer and a member of its Board of Directors, to “step down” as a result

27   of the incident. (See https://www.youtube.com/watch?v=A0K4DRLlTK8 at 6:54-7:00.)

28                                                        14
                                                                           SECOND AMENDED COMPLAINT
                                                                                CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 16 of 37




1            55.     The information disclosed by Watson during his public interview on October 5, 2021,

2    as set forth herein, was not disclosed to LifeLine by any of the Defendants prior to either of

3    Lifeline’s investments in Ozy Media. Ironically, when Watson was asked during the interview what

4    he would “tell investors” in order to earn back their trust, he responded with, “just the truth”. (See

5    https://www.youtube.com/watch?v=A0K4DRLlTK8 at 43:21-28.) Unfortunately, the truth did not

6    extend to those who were, only days after the Impersonation Incident, considering whether to invest

7    in the Company.

8            56.     At no time prior to LifeLine’s execution of the Series C SPA and Series D SPA did
9    Defendants, or any of them, disclose to LifeLine the fact of Rao’s fraudulent conduct or any of the
10   resulting consequences to Ozy Media. The failure by Ozy Media, Watson and Rao to disclose this
11   information to LifeLine rendered the Company’s Representations, as alleged herein, false or
12   misleading. The above-described temporal factors combined with Watson’s post-Impersonation
13   Incident statements and admissions confirm that at the time the SPAs were executed, Defendants,
14   and each of them, knew the Representations were false and yet said nothing. The Company entered
15   into the SPAs with actual knowledge of facts and circumstances that rendered the Representations
16   false. Given the Defendants’ admitted actual knowledge, there is no other reasonable conclusion
17   than that Defendants intentionally failed to disclose the relevant, material and highly damning
18   information to LifeLine.

19           57.     Finally, in early October 2021, Ozy Media announced that due to the Impersonation

20   Incident and the resulting circumstances, the Company was ceasing operations. Thus, any doubt as

21   to whether the undisclosed events “might” have a “Material Adverse Effect” on the Company by

22   interfering with its ability to conduct business is disposed of by the Company announcing this action.

23   The concerns that drove Ozy Media, Watson and Rao to conceal Rao’s fraudulent conduct from

24   LifeLine materialized when Rao’s actions became publicly known in September 2021.

25           58.     The public disclosure of Rao’s misconduct led to a media firestorm of negative

26   publicity and reputational harm to Ozy Media, Watson and Rao; the resignation of the chairman of

27   Ozy Media’s Board of Directors (Marc Lasry) who stated he lacked the experience in “crisis

28                                                    15
                                                                         SECOND AMENDED COMPLAINT
                                                                              CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 17 of 37




1    management and investigations” to continue leading the embattled company; a well-known investor

2    (SV Angel) surrendering its shares in the Company; and, an initial decision by the Company’s board

3    of directors to cease the Company’s operations and wind down its affairs.             All of these are

4    consequences from circumstances that the Representations assured Lifeline did not exist. The

5    Defendants, and each of them, were correct in their assessment that disclosing the Impersonation

6    Incident and the resulting circumstances to LifeLine would have resulted in LifeLine refusing to

7    invest which is the very reason they knowingly failed to disclose.

8                                       FIRST CLAIM FOR RELIEF
9                        Fraud in Connection with the Purchase or Sale of Securities

10                     Violations of Section 10(b) of the Exchange Act and Rule 10b-5

11                                     (Against Defendant Ozy Media)

12           59.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 58 above as

13   though set forth here in full.

14           60.     Section 10(b) of the Exchange Act (15 U.S.C. § 78j(b)) empowered the SEC to enact

15   rules against “manipulative and deceptive practices” in connection with the sale of securities.

16           61.     Pursuant to Section 10(b), the SEC adopted Rule 10b-5 (17 C.F.R. § 240.10b-5)

17   which provides, in part, that it is unlawful to omit to state a material fact in connection with the sale

18   of securities or to engage in any fraud upon any person in connection with the sale of securities.

19           62.     By knowingly failing to disclose the Impersonation Incident and resulting

20   consequences, including Rao’s requested resignation, investigations into Ozy Media by the SEC and

21   DOJ, and Goldman Sachs’ refusal to invest as a direct result of the Company’s fraudulent conduct,

22   Ozy Media, through Watson and Rao as officers of the Company, violated Rule 10b-5. Ozy Media’s

23   omission of these facts made the Representations set forth in Sections 3.6(h), 3.6(m), 3.6(n), and

24   3.12 of the SPAs false or, at minimum, misleading.

25           63.     Pursuant to Section 3.6(h) of the SPAs, Ozy Media represented to Plaintiff that “the

26   Company, to its knowledge, does not know of the impending resignation or termination of

27   employment of any such [key] officer or key employee”. As publicly confirmed by Watson on

28                                                      16
                                                                           SECOND AMENDED COMPLAINT
                                                                                CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 18 of 37




1    October 5, 2021, this representation was unquestionably false. In fact, following Rao’s misconduct,

2    Ozy Media asked Rao (its Co-Founder, Chief Operating Officer and Director) to “step down” (i.e.,

3    resign).   That fact was not disclosed by Ozy Media to Plaintiff before it made either of its

4    investments in the Company.

5            64.     Pursuant to Section 3.6(m) of the SPAs, Ozy Media represented to Plaintiff that there

6    had not been “any failure to conduct business in the ordinary course, consistent with the Company’s

7    past practices;”. On October 5, 2021, Watson confirmed that this representation was false or, at

8    minimum, misleading when he described Rao’s fraudulent conduct preceding LifeLine’s execution
9    of the SPAs as “horrific” and stated that Rao’s misconduct “wasn’t good and it wasn’t okay”.
10   Making matters worse, Watson confirmed he knew of the circumstances he described as “horrific”
11   immediately after they occurred and therefore before the SPAs were executed. Watson, the Co-
12   Founder, Chief Executive Officer, and a Director of the Company, knew and, on October 5, 2021,
13   Watson confirmed that Rao’s misconduct was not how Ozy Media ordinarily conducted its business
14   and that, according to him, it was in no way consistent with the Company’s past practices. Despite
15   this, the fact of Rao’s misconduct and the consequences thereof were not disclosed by Ozy Media to
16   Plaintiff before it invested in the Company.
17           65.     Pursuant to Section 3.6(n) of the SPAs, Ozy Media represented to Plaintiff that there
18   had not been “to the Company’s knowledge, any other event or condition of any character that might

19   result in a Material Adverse Effect” to the company. Because the Impersonation Incident led to

20   investigations by the SEC and DOJ, it clearly threatened and continues to threaten the Company’s

21   ability to be qualified to conduct business, the loss of such qualification having an unquestionably

22   adverse effect on the Company. Despite this, the fact of Rao’s misconduct and the consequences

23   thereof were not disclosed by Ozy Media to Plaintiff before it invested in the Company.

24           66.     Section 3.12 of the SPAs is a representation to Plaintiff that “[t]here are no actions,

25   suits, proceedings or investigations pending against the Company … that, either individually or in

26   the aggregate, if determined adversely to the Company, would or could reasonably be expected to

27   have a Material Adverse Effect … .” This representation was false or, at minimum, misleading

28                                                     17
                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 19 of 37




1    because, in fact, the SEC and DOJ had opened investigations into Ozy Media and its operations as a

2    result of the Impersonation Incident. Plaintiff is informed and believes and, based thereon, alleges

3    that the government investigations into the Company were opened prior to Plaintiff’s execution of

4    the SPAs and its investments in the Company.               The fact that the SEC and DOJ had opened

5    investigations into Ozy Media as a result of Rao’s fraudulent conduct was not disclosed by the

6    Company to Plaintiff before it invested in the Company despite the fact that Ozy Media represented

7    to Plaintiff that there were no such investigations.

8            67.     Because of Watson’s admissions following the Impersonation Incident that he, as Co-
9    Founder, Chief Executive Officer, and Director of Ozy Media, was aware of the Impersonation
10   Incident immediately after it occurred and since Rao was obviously aware of his own actions, it is
11   clear that the Company knew or should have known that the failure to disclose the Impersonation
12   Incident and resulting consequences would render the Representations false or, at a minimum,
13   misleading.
14           68.     In light of the prior professional relationship between Plaintiff and Watson, and based
15   on Watson and Rao touting continued institutional investor interest in Ozy Media despite Goldman
16   Sachs’ refusing to invest, Plaintiff had no reason to suspect that any of the Representations by the
17   Company in the SPAs were false or misleading.             As specifically alleged in Paragraphs 26 and 33
18   herein, Plaintiff relied on the Representations in the SPAs, including the representations at Sections

19   3.6(h), 3.6(m), 3.6(n) and 3.12 as being truthful.

20           69.     Had Plaintiff been aware of the Impersonation Incident and resulting consequences, it

21   would never have executed the SPAs and would never have invested in Ozy Media.

22           70.     15 U.S.C. § 78cc(b) of the Exchange Act provides that all contracts entered into in

23   violation of the Exchange Act are voidable. Based upon the actions of Ozy Media in connection

24   with the Series C SPA and Series D SPA, Plaintiff is entitled to rescission of the SPAs, the return of

25   all sums paid by Plaintiff pursuant thereto ($2,250,000), interest on said amounts and attorneys’ fees

26   and costs.

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                                                                              SECOND AMENDED COMPLAINT
                                                                                   CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 20 of 37




1                                       SECOND CLAIM FOR RELIEF

2                          Fraud in Connection with the Purchase or Sale of Securities

3                      Violations of Section 10(b) of the Exchange Act and Rule 10b-5

4                                        (Against Defendant Samir Rao)

5            71.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 58 above as set

6    forth here in full.

7            72.     Section 10(b) of the Exchange Act (15 U.S.C. § 78j(b)) empowered the SEC to enact

8    rules against “manipulative and deceptive practices” in connection with the sale of securities.
9            73.     Pursuant to Section 10(b), the SEC adopted Rule 10b-5 (17 C.F.R. § 240.10b-5)
10   which provides, in part, that that it is unlawful to: “employ any device, scheme, or artifice to
11   defraud”; or any material omission; or “engage in any act, practice, or course of business which
12   operates or would operate as fraud or deceit” in connection with the sale of securities or to engage in
13   any fraud upon any person in connection with the sale of securities.
14           74.     Section 10(b) of the Exchange Act (15 U.S.C. § 78j(b)) empowered the SEC to enact
15   rules against “manipulative and deceptive practices” in connection with the sale of securities.
16           75.     By knowingly failing to disclose the Impersonation Incident and resulting
17   consequences, including Rao’s forced resignation, investigations by the SEC and DOJ, and Goldman
18   Sachs’ refusal to invest as direct result of the Company’s fraudulent conduct, Rao, as an officer and

19   director of the Company, violated Rule 10b-5. Rao’s omission of these facts, after soliciting

20   Plaintiff’s investment in the Company and sending the Series C SPA and Series D SPA to Plaintiff

21   via email, made the Representations set forth in Sections 3.6(h), 3.6(m), 3.6(n), and 3.12 of the SPAs

22   false or, at minimum, misleading.

23           76.       Pursuant to Section 3.6(h) of the SPAs, Ozy Media represented to Plaintiff that “the

24   Company, to its knowledge, does not know of the impending resignation or termination of

25   employment of any such [key] officer or key employee”. As publicly confirmed by Watson on

26   October 5, 2021, this representation was unquestionably false. In fact, following Rao’s misconduct,

27   Ozy Media asked Rao (its Co-Founder, Chief Operating Officer and Director) to “step down” (i.e.,

28                                                     19
                                                                            SECOND AMENDED COMPLAINT
                                                                                 CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 21 of 37




1    resign). That fact was not disclosed by Rao to Plaintiff before it made either of its investments in the

2    Company.

3            77.     Pursuant to Section 3.6(m) of the SPAs, Ozy Media represented to Plaintiff that there

4    had not been “any failure to conduct business in the ordinary course, consistent with the Company’s

5    past practices;”. Rao knew that this representation was false or, at minimum, misleading because he

6    had engaged in the Impersonation Incident. Rao knew that the Impersonation Incident was not how

7    Ozy Media ordinarily conducted its business and that it was in no way consistent with the

8    Company’s past practices. Despite this, the fact of Rao’s misconduct and the consequences thereof
9    were not disclosed by Rao to Plaintiff before it invested in the Company.
10           78.     Pursuant to Section 3.6(n) of the SPAs, Ozy Media represented to Plaintiff that there
11   had not been “to the Company’s knowledge, any other event or condition of any character that might
12   result in a Material Adverse Effect” to the company. Because the Impersonation Incident led to
13   investigations by the SEC and DOJ, Rao knew that the Impersonation Incident clearly threatened
14   and continues to threaten the Company’s ability to be qualified to conduct business, the loss of such
15   qualification having an unquestionably adverse effect on the Company. Despite this, the fact of
16   Rao’s misconduct and the consequences thereof were not disclosed by Rao to Plaintiff before it
17   invested in the Company.
18           79.     Section 3.12 of the SPAs is a representation to Plaintiff that “[t]here are no actions,

19   suits, proceedings or investigations pending against the Company … that, either individually or in

20   the aggregate, if determined adversely to the Company, would or could reasonably be expected to

21   have a Material Adverse Effect … .” Rao knew that this representation was false or, at minimum,

22   misleading because, in fact, the SEC and DOJ had opened investigations into Ozy Media and its

23   operations as a result of the Impersonation Incident. Plaintiff is informed and believes and, based

24   thereon, alleges that the government investigations into the Company were opened prior to

25   Plaintiff’s execution of the SPAs and its investments in the Company. The fact that the SEC and

26   DOJ had opened investigations into Ozy Media as a result of the Impersonation Incident was not

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                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 22 of 37




1    disclosed by Rao to Plaintiff before it invested in the Company despite the fact that Ozy Media

2    represented to Plaintiff that there were no such investigations.

3            80.     Despite numerous discussions, written and oral, with Plaintiff regarding its potential

4    investments in Ozy Media, including correspondence between Rao and Plaintiff’s principals from

5    February 10 through May 9, 2021, Rao failed to disclose to Plaintiff that the Company and

6    specifically that he, personally, had engaged in misconduct in connection with the solicitation of

7    investments from other investors; or that his misconduct might have a material adverse effect on the

8    Company (i.e., government investigations and the loss of a $40 million investment); or that he was
9    asked by the Company to resign from his position as an officer and direct; or that the SEC and DOJ
10   had opened investigations into Ozy Media as a result of his misconduct. The reason for the non-
11   disclosure was that Rao’s conduct was not within the ordinary course of the Company’s business and
12   that disclosure of that the Company was concerned that disclosure of that conduct would cause
13   Plaintiff – like Goldman Sachs only weeks earlier – to refuse to invest in the Company.
14           81.     Rao had actual knowledge of the Impersonation Incident since he, personally,
15   engaged in the misconduct in his capacity as a Co-Founder, Chief Operating Officer and Director of
16   Ozy Media.
17           82.     In light of the prior professional relationship between Plaintiff and Watson, and based
18   on Watson and Rao touting continued institutional investor interest in Ozy Media despite Goldman

19   Sachs’ refusing to invest, Plaintiff had no reason to suspect that any of the Representations by the

20   Company in the SPAs were false or misleading.             As specifically alleged in Paragraphs 26 and 33

21   herein, Plaintiff relied on the Representations in the SPAs, including the representations at Sections

22   3.6(h), 3.6(m), 3.6(n) and 3.12 as being truthful.

23           83.     Had Plaintiff been aware of such fraudulent conduct it would never have executed the

24   Series C SPA or the Series D SPA and would never have invested in Ozy Media.

25           84.     Rao’s fraudulent conduct was (obviously) known to Rao, but Rao did not disclose his

26   misconduct, and the resulting material adverse effects it had on Ozy Media at any time after he sent

27   the Series C SPA and Series D SPA to Plaintiff, or at any time prior to Plaintiff’s investments in Ozy

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                                                                              SECOND AMENDED COMPLAINT
                                                                                   CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 23 of 37




1    Media pursuant to those agreements. As a result, Plaintiff has incurred damage in the amount of its

2    investments in Ozy Media ($2,250,000), plus interest thereon.

3                                        THIRD CLAIM FOR RELIEF

4                          Fraud in Connection with the Purchase or Sale of Securities

5                      Violations of Section 10(b) of the Exchange Act and Rule 10b-5

6                                     (Against Defendant Carlos Watson)

7            85.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 58 above as set

8    forth here in full.
9            86.     Section 10(b) of the Exchange Act (15 U.S.C. § 78j(b)) empowered the SEC to enact
10   rules against “manipulative and deceptive practices” in connection with the sale of securities.
11           87.     Pursuant to Section 10(b), the SEC adopted Rule 10b-5 (17 C.F.R. § 240.10b-5)
12   which provides, in part,
13           88.     Pursuant to Section 10(b), the SEC adopted Rule 10b-5 (17 C.F.R. § 240.10b-5)
14   which provides, in part, that that it is unlawful to: “employ any device, scheme, or artifice to
15   defraud”; “make any untrue statement of a material fact”, or any material omission; or “engage in
16   any act, practice, or course of business which operates or would operate as fraud or deceit” in
17   connection with the sale of securities or to engage in any fraud upon any person in connection with
18   the sale of securities.

19           89.     In taking the actions alleged herein, Watson, as a Co-Founder, Chief Executive

20   Officer and Director of Ozy Media, and the executive at the Company who directly solicited

21   Plaintiff’s investments in the Company and signed the Series C SPA and the Series D SPA on behalf

22   of the Company, violated Rule 10b-5 by failing to disclose Rao’s fraudulent conduct to Plaintiff and

23   by failing to disclose any of the consequences from Rao’s misconduct, including the loss of a

24   substantial $40 million investment in the Company, the request that Rao resign as an officer and

25   director of the Company, and the opening of investigations by the SEC and DOJ into the Company

26   and its operations. Watson’s omission of these facts made the Representations set forth in Sections

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28                                                     22
                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 24 of 37




1    3.6(h), (m) and (n), and 3.12 of the Series C SPA and Series D SPA false or, at minimum,

2    misleading.

3            90.     Pursuant to Section 3.6(h) of the SPAs, Ozy Media represented to Plaintiff that “the

4    Company, to its knowledge, does not know of the impending resignation or termination of

5    employment of any such [key] officer or key employee”. As publicly confirmed by Watson on

6    October 5, 2021, this representation was unquestionably false. In fact, following Rao’s misconduct,

7    Ozy Media asked Rao (its Co-Founder, Chief Operating Officer and Director) to “step down” (i.e.,

8    resign). That fact was not disclosed by Watson to Plaintiff before it made either of its investments in
9    the Company.
10           91.     Pursuant to Section 3.6(m) of the SPAs, Ozy Media represented to Plaintiff that there
11   had not been “any failure to conduct business in the ordinary course, consistent with the Company’s
12   past practices;”. On October 5, 2021, Watson confirmed that this representation was false or, at
13   minimum, misleading when he described Rao’s fraudulent conduct preceding LifeLine’s execution
14   of the SPAs as “horrific” and stated that Rao’s misconduct “wasn’t good and it wasn’t okay”.
15   Making matters worse, Watson confirmed he knew of the circumstances he described as horrific
16   immediately after they occurred and therefore before the SPAs were executed. Watson, the Co-
17   Founder, Chief Executive Officer, and a Director of the Company, knew and, on October 5, 2021,
18   Watson confirmed that Rao’s misconduct was not how Ozy Media ordinarily conducted its business

19   and that, according to him, it was in no way consistent with the Company’s past practices. Despite

20   this, the fact of Rao’s misconduct and the consequences thereof were not disclosed by Watson to

21   Plaintiff before it invested in the Company.

22           92.     Pursuant to Section 3.6(n) of the SPAs, Ozy Media represented to Plaintiff that there

23   had not been “to the Company’s knowledge, any other event or condition of any character that might

24   result in a Material Adverse Effect” to the company. Because the Impersonation Incident led to

25   investigations by the SEC and DOJ, it clearly threatened and continues to threaten the Company’s

26   ability to be qualified to conduct business, the loss of such qualification having an unquestionably

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                                                                         SECOND AMENDED COMPLAINT
                                                                              CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 25 of 37




1    adverse effect on the Company. Despite this, the fact of Rao’s misconduct and the consequences

2    thereof were not disclosed by Watson to Plaintiff before it invested in the Company.

3            93.     Section 3.12 of the SPAs is a representation to Plaintiff that “[t]here are no actions,

4    suits, proceedings or investigations pending against the Company … that, either individually or in

5    the aggregate, if determined adversely to the Company, would or could reasonably be expected to

6    have a Material Adverse Effect … .” This representation was false or, at minimum, misleading

7    because, in fact, the SEC and DOJ had opened investigations into Ozy Media and its operations as a

8    result of the Impersonation Incident. Plaintiff is informed and believes and, based thereon, alleges
9    that the government investigations into the Company were opened prior to Plaintiff’s execution of
10   the SPAs and its investments in the Company.           The fact that the SEC and DOJ had opened
11   investigations into Ozy Media as a result of Rao’s fraudulent conduct was not disclosed by Watson
12   to Plaintiff before it invested in the Company despite the fact that Ozy Media represented to Plaintiff
13   that there were no such investigations.
14           94.     Despite numerous discussions, written and oral, with Plaintiff regarding its potential
15   investments in Ozy Media, including numerous correspondence between Watson and Plaintiff’s
16   principals from February 10 through May 9, 2021, Watson failed to disclose to Plaintiff that the
17   Company and specifically Rao had engaged in fraudulent conduct in connection with its solicitation
18   of investments from other investors; or that Rao’s misconduct might have a material adverse effect

19   on the company’s financials (i.e., government investigations and the loss of a $40 million

20   investment); or that Rao, the Co-Founder, Chief Operating Officer and Director of Ozy Media was

21   asked by the Company to resign from his positions; or that the SEC and DOJ had opened

22   investigations into the Company as a result of Rao’s misconduct. The reason for the non-disclosure

23   was that Rao’s misconduct was not within the ordinary course of the Company’s business and that

24   disclosure of that the Company was concerned that disclosure of that conduct would cause Plaintiff –

25   like Goldman Sachs only weeks earlier – to refuse to invest in the Company.

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                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 26 of 37




1            95.     On October 5, 2021, Watson admitted that he had actual knowledge of Rao’s

2    fraudulent conduct on the day it occurred; that Rao’s misconduct might have a material adverse

3    effect on the Company; and that Rao was asked to resign as an officer and director of the Company.

4            96.     In light of the prior professional relationship between Plaintiff and Watson, and based

5    on Watson and Rao touting continued institutional investor interest in Ozy Media despite Goldman

6    Sachs’ refusing to invest, Plaintiff had no reason to suspect that any of the Representations by the

7    Company in the SPAs were false or misleading.             As specifically alleged in Paragraphs 26 and 33

8    herein, Plaintiff relied on the Representations in the SPAs, including the representations at Sections
9    3.6(h), 3.6(m), 3.6(n) and 3.12 as being truthful.
10           97.     Had Plaintiff been aware of such fraudulent conduct it would never have executed the
11   Series C SPA or the Series D SPA and would never have invested in Ozy Media.
12           98.     Rao’s fraudulent conduct was known to Watson on the day it occurred, but Watson
13   did not disclose that conduct, and the resulting effects on Ozy Media to Plaintiff prior to its
14   investments in Ozy Media.        As a result, Plaintiff has incurred damage in the amount of its
15   investments in Ozy Media ($2,250,000), plus interest thereon.
16                                    FOURTH CLAIM FOR RELIEF

17                                      Fraud in the Sale of Securities

18                         Violation of California Corporations Code § 25401 et seq.

19                                     (Against Defendant Ozy Media)

20           99.     Plaintiff realleges and incorporates by reference Paragraphs 1 through 58 above as set

21   forth here in full.

22           100.    California Corporations Code § 25401 provides, in pertinent part, as follows: “It is

23   unlawful for any person to offer or sell a security in this state . . . by means of any written or oral

24   communication that includes an untrue statement of material fact or omits to state a material fact

25   necessary to make the statements made, in light of the circumstances under which the statements

26   were made, not misleading.”

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                                                                              SECOND AMENDED COMPLAINT
                                                                                   CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 27 of 37




1            101.    In taking the actions alleged herein, all directed by Watson and Rao as officers and

2    directors of the Ozy Media, Ozy Media violated California Corporations Code § 25401 et seq., by

3    failing to disclose Rao’s fraudulent conduct to Plaintiff and by failing to disclose any of the

4    consequences from Rao’s misconduct, including the loss of a $40 million investment in the

5    Company, the request by the Company that Rao resign from his positions as executive and director,

6    and the resulting government investigations into the Company and its operations. Ozy Media’s

7    omission of these facts made the Representations set forth in Sections 3.6(h), (m) and (n), and 3.12

8    of the Series C SPA and Series D SPA false or, at minimum, misleading.
9            102.    Pursuant to Section 3.6(h) of the SPAs, Ozy Media represented to Plaintiff that “the
10   Company, to its knowledge, does not know of the impending resignation or termination of
11   employment of any such [key] officer or key employee”. As publicly confirmed by Watson on
12   October 5, 2021, this representation was unquestionably false. In fact, following Rao’s misconduct,
13   Ozy Media asked Rao (its Co-Founder, Chief Operating Officer and Director) to “step down” (i.e.,
14   resign).   That fact was not disclosed by Ozy Media to Plaintiff before it made either of its
15   investments in the Company.
16           103.    Pursuant to Section 3.6(m) of the SPAs, Ozy Media represented to Plaintiff that there
17   had not been “any failure to conduct business in the ordinary course, consistent with the Company’s
18   past practices;”. On October 5, 2021, Watson confirmed that this representation was false or, at

19   minimum, misleading when he described Rao’s fraudulent conduct preceding LifeLine’s execution

20   of the SPAs as “horrific” and stated that Rao’s misconduct “wasn’t good and it wasn’t okay”.

21   Making matters worse, Watson confirmed he knew of the circumstances he described as “horrific”

22   immediately after they occurred and therefore before the SPAs were executed. Watson, the Co-

23   Founder, Chief Executive Officer, and a Director of the Company, knew and, on October 5, 2021,

24   Watson confirmed that Rao’s misconduct was not how Ozy Media ordinarily conducted its business

25   and that, according to him, it was in no way consistent with the Company’s past practices. Despite

26   this, the fact of Rao’s misconduct and the consequences thereof were not disclosed by Ozy Media to

27   Plaintiff before it invested in the Company.

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                                                                         SECOND AMENDED COMPLAINT
                                                                              CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 28 of 37




1            104.    Pursuant to Section 3.6(n) of the SPAs, Ozy Media represented to Plaintiff that there

2    had not been “to the Company’s knowledge, any other event or condition of any character that might

3    result in a Material Adverse Effect” to the company. Because the Impersonation Incident led to

4    investigations by the SEC and DOJ, it clearly threatened and continues to threaten the Company’s

5    ability to be qualified to conduct business, the loss of such qualification having an unquestionably

6    adverse effect on the Company. Despite this, the fact of Rao’s misconduct and the consequences

7    thereof were not disclosed by Ozy Media to Plaintiff before it invested in the Company.

8            105.    Section 3.12 of the SPAs is a representation to Plaintiff that “[t]here are no actions,
9    suits, proceedings or investigations pending against the Company … that, either individually or in
10   the aggregate, if determined adversely to the Company, would or could reasonably be expected to
11   have a Material Adverse Effect … .” This representation was false or, at minimum, misleading
12   because, in fact, the SEC and DOJ had opened investigations into Ozy Media and its operations as a
13   result of the Impersonation Incident. Plaintiff is informed and believes and, based thereon, alleges
14   that the government investigations into the Company were opened prior to Plaintiff’s execution of
15   the SPAs and its investments in the Company.            The fact that the SEC and DOJ had opened
16   investigations into Ozy Media as a result of Rao’s fraudulent conduct was not disclosed by the
17   Company to Plaintiff before it invested in the Company despite the fact that Ozy Media represented
18   to Plaintiff that there were no such investigations.

19           106.    Because of Watson’s admissions following the Impersonation Incident that he, as Co-

20   Founder, Chief Executive Officer, and Director of Ozy Media, was aware of the Impersonation

21   Incident immediately after it occurred and since Rao was obviously aware of his own actions, it is

22   clear that the Company knew or should have known that the failure to disclose the Impersonation

23   Incident and resulting consequences would render the Representations false or, at a minimum,

24   misleading.

25           107.    In light of the prior professional relationship between Plaintiff and Watson, and based

26   on Watson and Rao touting continued institutional investor interest in Ozy Media despite Goldman

27   Sachs’ refusing to invest, Plaintiff had no reason to suspect that any of the Representations by the

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                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 29 of 37




1    Company in the SPAs were false or misleading.             As specifically alleged in Paragraphs 26 and 33

2    herein, Plaintiff relied on the Representations in the SPAs, including the representations at Sections

3    3.6(h), 3.6(m), 3.6(n) and 3.12 as being truthful.

4            108.    Had Plaintiff been aware of the Impersonation Incident and resulting consequences, it

5    would never have executed the SPAs and would never have invested in Ozy Media.

6            109.    Section 25501 of the California Corporations Code provides that all contracts entered

7    into in violation of Section 25401 are voidable. Based upon the actions of Ozy Media in connection

8    with the Series C SPA and the Series D SPA, Plaintiff is entitled to rescission of the SPAs, the return
9    of all sums paid by Plaintiff pursuant thereto ($2,250,000), plus interest on said amounts and
10   attorneys’ fees and costs.
11                                      FIFTH CLAIM FOR RELIEF

12                                      Fraud in the Sale of Securities

13                         Violation of California Corporations Code § 25401 et seq.

14                                    (Against All Defendant Samir Rao)

15           110.    Plaintiff realleges and incorporates by reference Paragraphs 1 through 58 above as set

16   forth here in full.

17           111.    California Corporations Code § 25401 provides, in pertinent part, as follows: “It is

18   unlawful for any person to offer or sell a security in this state . . . by means of any written or oral

19   communication that includes an untrue statement of material fact or omits to state a material fact

20   necessary to make the statements made, in light of the circumstances under which the statements

21   were made, not misleading.”

22           112.    In taking the actions alleged herein, Rao, as a Co-Founder, Officer and Director of

23   Ozy Media, and the representative of Ozy Media who provided, via email, the Series C SPA and the

24   Series D SPA to Plaintiff, violated California Corporations Code § 25401 et seq., by failing to

25   disclose his fraudulent conduct to Plaintiff and by failing to disclose any of the consequences from

26   his misconduct, including the loss of a $40 million investment in the Company, the request by the

27   Company that he resign from his positions as executive and director, and the resulting government

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                                                                              SECOND AMENDED COMPLAINT
                                                                                   CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 30 of 37




1    investigations into the Company and its operations.        Rao’s omission of these facts made the

2    representations set forth in Sections 3.6(h), (m) and (n), and 3.12 of the Series C SPA and Series D

3    SPA false or, at minimum, misleading.

4            113.    Pursuant to Section 3.6(h) of the SPAs, Ozy Media represented to Plaintiff that “the

5    Company, to its knowledge, does not know of the impending resignation or termination of

6    employment of any such [key] officer or key employee”. As publicly confirmed by Watson on

7    October 5, 2021, this representation was unquestionably false. In fact, following Rao’s misconduct,

8    Ozy Media asked Rao (its Co-Founder, Chief Operating Officer and Director) to “step down” (i.e.,
9    resign). That fact was not disclosed by Rao to Plaintiff before it made either of its investments in the
10   Company.
11           114.    Pursuant to Section 3.6(m) of the SPAs, Ozy Media represented to Plaintiff that there
12   had not been “any failure to conduct business in the ordinary course, consistent with the Company’s
13   past practices;”. Rao knew that this representation was false or, at minimum, misleading because he
14   had engaged in the Impersonation Incident. Rao knew that the Impersonation Incident was not how
15   Ozy Media ordinarily conducted its business and that it was in no way consistent with the
16   Company’s past practices. Despite this, the fact of Rao’s misconduct and the consequences thereof
17   were not disclosed by Rao to Plaintiff before it invested in the Company.
18           115.    Pursuant to Section 3.6(n) of the SPAs, Ozy Media represented to Plaintiff that there

19   had not been “to the Company’s knowledge, any other event or condition of any character that might

20   result in a Material Adverse Effect” to the company. Because the Impersonation Incident led to

21   investigations by the SEC and DOJ, Rao knew that the Impersonation Incident clearly threatened

22   and continues to threaten the Company’s ability to be qualified to conduct business, the loss of such

23   qualification having an unquestionably adverse effect on the Company. Despite this, the fact of

24   Rao’s misconduct and the consequences thereof were not disclosed by Rao to Plaintiff before it

25   invested in the Company.

26           116.    Section 3.12 of the SPAs is a representation to Plaintiff that “[t]here are no actions,

27   suits, proceedings or investigations pending against the Company … that, either individually or in

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                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 31 of 37




1    the aggregate, if determined adversely to the Company, would or could reasonably be expected to

2    have a Material Adverse Effect … .” Rao knew that this representation was false or, at minimum,

3    misleading because, in fact, the SEC and DOJ had opened investigations into Ozy Media and its

4    operations as a result of the Impersonation Incident. Plaintiff is informed and believes and, based

5    thereon, alleges that the government investigations into the Company were opened prior to

6    Plaintiff’s execution of the SPAs and its investments in the Company. The fact that the SEC and

7    DOJ had opened investigations into Ozy Media as a result of the Impersonation Incident was not

8    disclosed by Rao to Plaintiff before it invested in the Company despite the fact that Ozy Media
9    represented to Plaintiff that there were no such investigations.
10           117.    Despite numerous discussions, written and oral, with Plaintiff regarding its potential
11   investments in Ozy Media, including correspondence between Rao and Plaintiff’s principals from
12   February 10 through May 9, 2021, Rao failed to disclose to Plaintiff that the Company and
13   specifically that he, personally, had engaged in fraudulent conduct in connection with the solicitation
14   of investments from other investors; or that his misconduct might have a material adverse effect on
15   the Company (i.e., government investigations and the loss of a $40 million investment); or that he
16   was asked by the Company to resign from his position as an officer and direct; or that the SEC and
17   DOJ had opened investigations into Ozy Media as a result of his misconduct. The reason for the
18   non-disclosure was that Rao’s conduct was not within the ordinary course of the Company’s

19   business and that disclosure of that the Company was concerned that disclosure of that conduct

20   would cause Plaintiff – like Goldman Sachs only weeks earlier – to refuse to invest in the Company.

21           118.    Rao, as Chief Operating Officer and a Director of the company, engaged in the

22   fraudulent conduct at issue and was aware it had occurred and that the consequences alleged herein

23   followed.

24           119.    In light of the prior professional relationship between Plaintiff and Watson, and based

25   on Watson and Rao touting continued institutional investor interest in Ozy Media despite Goldman

26   Sachs’ refusing to invest, Plaintiff had no reason to suspect that any of the Representations by the

27   Company in the SPAs were false or misleading.           As specifically alleged in Paragraphs 26 and 33

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                                                                            SECOND AMENDED COMPLAINT
                                                                                 CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 32 of 37




1    herein, Plaintiff relied on the Representations in the SPAs, including the representations at Sections

2    3.6(h), 3.6(m), 3.6(n) and 3.12 as being truthful.

3            120.    Had Plaintiff been aware of such fraudulent conduct, Plaintiff would never have

4    executed the Series C SPA or the Series D SPA and would never have invested in Ozy Media.

5            121.    Rao, personally, engaged in the fraudulent conduct, but did not disclose that

6    misconduct, and the resulting material adverse effects on Ozy Media to Plaintiff prior to its

7    investments in Ozy Media.        As a result, Plaintiff has incurred damage in the amount of its

8    investments in Ozy Media ($2,250,000), plus interest thereon.
9                                       SIXTH CLAIM FOR RELIEF

10                                      Fraud in the Sale of Securities

11                         Violation of California Corporations Code § 25401 et seq.

12                                 (Against All Defendant Carlos Watson)

13           122.    Plaintiff realleges and incorporates by reference Paragraphs 1 through 58 above as set

14   forth here in full.

15           123.    California Corporations Code § 25401 provides, in pertinent part, as follows: “It is

16   unlawful for any person to offer or sell a security in this state . . . by means of any written or oral

17   communication that includes an untrue statement of material fact or omits to state a material fact

18   necessary to make the statements made, in light of the circumstances under which the statements

19   were made, not misleading.”

20           124.    In taking the actions alleged herein, Watson, as a Co-Founder, Officer and Director of

21   Ozy Media, and the executive that signed on behalf of Ozy Media on the Series C SPA and the

22   Series D SPA, violated California Corporations Code § 25401 et seq., by failing to disclose Rao’s

23   fraudulent conduct to Plaintiff and by failing to disclose any of the consequences from Rao’s

24   misconduct, including the loss of a $40 million investment in the Company, the request by the

25   Company that Rao resign from his positions as executive and director, and the resulting government

26   investigations into the Company and its operations.        Rao’s omission of these facts made the

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                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 33 of 37




1    representations set forth in Sections 3.6(h), (m) and (n), and 3.12 of the Series C SPA and Series D

2    SPA false or, at minimum, misleading.

3            125.    Pursuant to Section 3.6(h) of the SPAs, Ozy Media represented to Plaintiff that “the

4    Company, to its knowledge, does not know of the impending resignation or termination of

5    employment of any such [key] officer or key employee”. As publicly confirmed by Watson on

6    October 5, 2021, this representation was unquestionably false. In fact, following Rao’s misconduct,

7    Ozy Media asked Rao (its Co-Founder, Chief Operating Officer and Director) to “step down” (i.e.,

8    resign). That fact was not disclosed by Watson to Plaintiff before it made either of its investments in
9    the Company.
10           126.    Pursuant to Section 3.6(m) of the SPAs, Ozy Media represented to Plaintiff that there
11   had not been “any failure to conduct business in the ordinary course, consistent with the Company’s
12   past practices;”. On October 5, 2021, Watson confirmed that this representation was false or, at
13   minimum, misleading when he described Rao’s fraudulent conduct preceding LifeLine’s execution
14   of the SPAs as “horrific” and stated that Rao’s misconduct “wasn’t good and it wasn’t okay”.
15   Making matters worse, Watson confirmed he knew of the circumstances he described as horrific
16   immediately after they occurred and therefore before the SPAs were executed. Watson, the Co-
17   Founder, Chief Executive Officer, and a Director of the Company, knew and, on October 5, 2021,
18   Watson confirmed that Rao’s misconduct was not how Ozy Media ordinarily conducted its business

19   and that, according to him, it was in no way consistent with the Company’s past practices. Despite

20   this, the fact of Rao’s misconduct and the consequences thereof were not disclosed by Watson to

21   Plaintiff before it invested in the Company.

22           127.    Pursuant to Section 3.6(n) of the SPAs, Ozy Media represented to Plaintiff that there

23   had not been “to the Company’s knowledge, any other event or condition of any character that might

24   result in a Material Adverse Effect” to the company. Because the Impersonation Incident led to

25   investigations by the SEC and DOJ, it clearly threatened and continues to threaten the Company’s

26   ability to be qualified to conduct business, the loss of such qualification having an unquestionably

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                                                                         SECOND AMENDED COMPLAINT
                                                                              CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 34 of 37




1    adverse effect on the Company. Despite this, the fact of Rao’s misconduct and the consequences

2    thereof were not disclosed by Watson to Plaintiff before it invested in the Company.

3            128.    Section 3.12 of the SPAs is a representation to Plaintiff that “[t]here are no actions,

4    suits, proceedings or investigations pending against the Company … that, either individually or in

5    the aggregate, if determined adversely to the Company, would or could reasonably be expected to

6    have a Material Adverse Effect … .” This representation was false or, at minimum, misleading

7    because, in fact, the SEC and DOJ had opened investigations into Ozy Media and its operations as a

8    result of the Impersonation Incident. Plaintiff is informed and believes and, based thereon, alleges
9    that the government investigations into the Company were opened prior to Plaintiff’s execution of
10   the SPAs and its investments in the Company.           The fact that the SEC and DOJ had opened
11   investigations into Ozy Media as a result of Rao’s fraudulent conduct was not disclosed by Watson
12   to Plaintiff before it invested in the Company despite the fact that Ozy Media represented to Plaintiff
13   that there were no such investigations.
14           129.    Despite numerous discussions, written and oral, with Plaintiff regarding its potential
15   investments in Ozy Media, including correspondence between Watson and Plaintiff’s principals
16   from February 10 through May 9, 2021, Watson failed to disclose to Plaintiff that the Company and
17   specifically Rao had engaged in fraudulent conduct in connection with its solicitation of investments
18   from other investors; or that Rao’s misconduct might have a material adverse effect on the Company

19   (i.e., government investigations and the loss of a $40 million investment); or that Rao, the Chief

20   Operating Officer of Ozy Media was asked by the company to resign from his position; or that the

21   SEC and DOJ had opened investigations into Ozy Media as a result of Rao’s misconduct. The

22   reason for the non-disclosure was that Rao’s conduct was not within the ordinary course of the

23   Company’s business and that disclosure of that the Company was concerned that disclosure of that

24   conduct would cause Plaintiff – like Goldman Sachs only weeks earlier – to refuse to invest in the

25   Company. .

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                                                                          SECOND AMENDED COMPLAINT
                                                                               CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 35 of 37




1            130.    On October 5, 2021, Watson admitted that he had actual knowledge of Rao’s

2    fraudulent conduct on the day it occurred; that Rao’s conduct caused the company to lose a $40

3    million investment; and that Rao was asked to resign as an executive and director of the Company.

4            131.    In light of the prior professional relationship between Plaintiff and Watson, and based

5    on Watson and Rao touting continued institutional investor interest in Ozy Media despite Goldman

6    Sachs’ refusing to invest, Plaintiff had no reason to suspect that any of the Representations by the

7    Company in the SPAs were false or misleading.             As specifically alleged in Paragraphs 26 and 33

8    herein, Plaintiff relied on the Representations in the SPAs, including the representations at Sections
9    3.6(h), 3.6(m), 3.6(n) and 3.12 as being truthful.
10           132.    Had Plaintiff been aware of such fraudulent conduct, Plaintiff would never have
11   executed the Series C SPA or the Series D SPA and would never have invested in Ozy Media.
12           133.    Rao’s fraudulent conduct was known to Watson on the day it occurred, but Watson
13   did not disclose that conduct, and the resulting material adverse effects on Ozy Media to Plaintiff
14   prior to its investments in Ozy Media. As a result, Plaintiff has incurred damage in the amount of its
15   investments in Ozy Media ($2,250,000), plus interest thereon.
16                                         PRAYER FOR RELIEF
17                   WHEREFORE, Plaintiff demands judgment against Defendants as follows:
18           A.      Ordering the Series C SPA and the Series D SPA be rescinded and requiring

19   Defendant Ozy Media to repay to Plaintiff all sums paid by it pursuant to said agreements, plus

20   interest as provided by law;

21           B.      Ordering Defendant Rao to pay to Plaintiff damages in the amount of Plaintiff’s

22   investment in Ozy Media, plus interest as provided by law;

23           C.      Ordering Defendant Watson to pay to Plaintiff damages in the amount of Plaintiff’s

24   investment in Ozy Media, plus interest as provided by law;

25           D.      Awarding Plaintiff pre-judgment interest, reasonable attorneys’ fees, expert fees and

26   court costs; and,

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                                                                              SECOND AMENDED COMPLAINT
                                                                                   CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 36 of 37




1              E.    Awarding Plaintiff such other and further relief as this Court my deem just and

2    proper.

3    DATED: June 29, 2022                   BLANK ROME LLP
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5
                                            By: /s/ Gregory M. Bordo
6                                                   Gregory M. Bordo
7                                                   Christopher J. Petersen
                                                    Craig N. Haring
8                                           Attorneys for Plaintiff
                                            LIFELINE LEGACY HOLDINGS LLC
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                                                                     SECOND AMENDED COMPLAINT
                                                                          CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
          Case 5:21-cv-07751-BLF Document 61 Filed 06/29/22 Page 37 of 37




1                                     DEMAND FOR TRIAL BY JURY

2            Plaintiff hereby demands a trial by jury.

3

4    DATED: June 29, 2022                     BLANK ROME LLP
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6
                                              By: /s/ Gregory M. Bordo
7                                                     Gregory M. Bordo
8                                                     Christopher J. Petersen
                                                      Craig N. Nelson
9
                                              Attorneys for Plaintiff
10                                            LIFELINE LEGACY HOLDINGS LLC

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                                                                        SECOND AMENDED COMPLAINT
                                                                             CASE NO. 21-CV-07751-BLF
     163056.00601/129061142V.1
